                             Case 1:20-cr-00046-UNA Document 6 Filed 01/28/20 Page 1 of 1
U.S. Department of Justice
United States Attorney



                                                                                                           FILED IN CHAMBERS
                                      IN THE UNITED STATES DISTRICT COURT                                           U.~~DC AUanta
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                                          FOR THE NORTHERN DISTRICT OF GEORGIA                                     JAN 282020
                                                                   Division: Atlanta                              I
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                                                                                                                                 (Die
                                                                   (USAO: 2017R00688)                     By:
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                                  DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION


 COUNTY NAME:                Fulton                                      DISTRIC] COURT NO.            20         C R046
                                                                                                   UNDER SEAL
                                                                         MAGISTRATE CASE NO.

 X Indictment                                      Information                          Magistrate’s Complaint
 DATE: Januaty 28, 2020                            DATE:                                DATE:

                              UNITED STATES Or AMERICA                  SUPERSEDING INDICrMENT
                                         vs.                            Prior Case Number:
                                    WANG QIAN                           Date Filed:

 GREATER OFFENSE CHARGED: X Felony Misdemeanor

                                             Defendant Information:
Is the defendant in custody? Yes X No
Will the defendant be arrested pending outcome of this proceeding? X Yes                  No
Is the defendant a fugitive? Yes X No
Has the defendant been released on bond? Yes X No

Will the defendant require an interpreter?               Yes     X No




District Judge:


Attorney: Nathan P. Kitchens
Defense Attorney:
